     2:18-mn-02873-RMG           Date Filed 05/05/23      Entry Number 3081         Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                  )
 IN RE: AQUEOUS FILM-FORMING                      )   MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                         )
 LITIGATION                                       )   ORDER AND OPINION
                                                  )
                                                  )   This Order Relates to
                                                  )   City of Stuart, Fl. v. 3M Co., et al.,
                                                  )   Case No. 2:18-cv-3487-RMG
                                                  )
                                                  )


         Before the Court is Kidde-Fenwal, Inc. (“Kidde”)’s motion for partial summary judgment.

(Dkt. No. 2694). For the reasons set forth below, the Court grants Kidde’s motion.

I.       Background

         Plaintiff the City of Stuart (“Plaintiff,” “Stuart” or the “City) alleges that various

Defendants manufactured and distributed aqueous film-forming foam (“AFFF”) and/or

fluorosurfactant additives for use in AFFF that contaminated the City’s water supply with PFAS,

including PFOS and PFOA. (City of Stuart, Fl. v. 3M Co., et al., 2:18-cv-3487-RMG, Dkt. No. 54,

¶ 1).

         On December 2, 2022, Kidde filed a motion for partial summary judgment, (Dkt. No.

2694), to which Plaintiff filed a response in opposition, (Dkt. No. 2803). On February 10, 2023,

Kidde filed a reply. (Dkt. No. 2862). With the Court’s leave, Plaintiff filed a sur-reply. (Dkt. No.

2878).

         Kidde’s motion is fully briefed and ripe for disposition.
       2:18-mn-02873-RMG        Date Filed 05/05/23      Entry Number 3081         Page 2 of 3




II.      Legal Standard

         Summary judgment is appropriate if a party “shows that there is no genuine dispute as to

any material fact” and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

A dispute is “genuine” if the evidence offered is such that a reasonable jury might return a verdict

for the non-movant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is

“material” if proof of its existence or non-existence would affect disposition of the case under

applicable law. See id. Therefore, summary judgment should be granted “only when it is clear that

there is no dispute concerning either the facts of the controversy or the inferences to be drawn from

those facts.” Pulliam Inv. Co. v. Cameo Props., 810 F.2d 1282, 1286 (4th Cir. 1987).

         “In determining whether a genuine issue has been raised, the court must construe all

inferences and ambiguities in favor of the nonmoving party.” HealthSouth Rehab. Hosp. v. Am.

Nat'l Red Cross, 101 F.3d 1005, 1008 (4th Cir. 1996). The movant bears the initial burden of

demonstrating that there is no genuine issue of material fact. See Celotex Corp. v. Catrett, 477

U.S. 317, 323 (1986). Once the moving party has made this threshold demonstration, the non-

moving party, to survive the motion for summary judgment must demonstrate that specific,

material facts exist that give rise to a genuine issue. See id. at 324. Under this standard,

“[c]onclusory or speculative allegations do not suffice, nor does a ‘mere scintilla of evidence’” in

support of the non-moving party's case. Thompson v. Potomac Elec. Power Co., 312 F.3d 645, 649

(4th Cir. 2002) (quoting Phillips v. CSX Transp., Inc., 190 F.3d 285, 287 (4th Cir. 1999)).

III.     Discussion

         Kidde moves for partial summary judgment on a narrow point. Namely, Kidde asks that

the Court grant it summary judgment on all “claims based on PFOS and branched PFOA.” (Dkt.



                                                 2
      2:18-mn-02873-RMG        Date Filed 05/05/23       Entry Number 3081          Page 3 of 3




No. 2694-1 at 3). Citing Plaintiff’s experts’ testimony, Kidde argues that the undisputed evidence

shows “Kidde’s FT [fluorotelomer]-AFFF could not have generated PFOS or branched PFOA.”

(Id.). In response, Plaintiff acknowledges it does “not dispute that Kidde is not the source of the

PFOS or the branched PFOA in its drinking water and does not intend to introduce evidence to the

contrary.” (Dkt. No. 2803 at 2). Plaintiff argues however that Kidde can be held jointly and

severally liable under a “pollution” exception to Fla. Stat. § 768.81 for linear PFOA. (Id. at 6-7)

(arguing Kidde’s motion is “futile since Kidde is still required to ensure Stuart is made whole” for

any linear PFOA contamination). In reply, Kidde argues that “[b]ecause there is no dispute that

Kidde’s AFFF did not cause any PFOS or branched PFOA contamination, the Court need not

decide whether a ‘pollution’ exception applies to grant summary judgment to Kidde for all claims

based on those substances.” (Dkt. No. 2862-1 at 2).

        The Court grants Kidde’s partial motion for summary judgment on Plaintiff’s claims to the

extent those claims allege Kidde is responsible for PFOS or branched PFOA contamination. The

Court expresses no opinion on the parties’ disputes regarding joint and several liability or §

768.81’s “pollution” exception as those issues are not properly before the Court.

IV.     Conclusion

        For the foregoing reasons, the Court grants Kidde’s motion for partial summary judgment

(Dkt. No. 2694).

        AND IT IS SO ORDERED.



                                                      _s/ Richard Mark Gergel_________
                                                      Richard Mark Gergel
                                                      United States District Judge
May 5, 2023
Charleston, South Carolina



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